Case 6:18-bl<-03644-KS.] Doc 7 Filed 07/03/18 Page 1 of 3

Fill in this information to identify your case:

 

 

 

D€blOrl Reg|a De La Caridad Fernandez

First Name Mldd|e Name Lasl Name
Debtor 2
{Spouse lf, ii|ing) First Name Mldd|e Name Lasl Name

United States Bankruptcy Court for the: M|DDLE DlSTR|CT OF FLOR|DA

 

Case number 6:1B-bk-03644

{il known)

 

l Check if this is an
amended filing

 

Oiiicial Form 108
Statement of intention for lndividuals Fi|ing Under Chapter 7 ms

|fyou are an individual filing under chapter 7, you must fill out this form if:
. creditors have claims secured by your property, or

. you have leased personal property and the lease has not expired.

You musttile this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever ls earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
on the form

|f two married people are filing together in a joint case, both are equally responsible for supplying correct information Both debtors must
sign and date the form.

Be as complete and accurate as possible. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

mYour Creditors Who Have Secured C|aims

1. For any creditors that you listed in Part‘l of Schedu|e D: Creditors Who Have Claims Secured by Property (Officia| Form 106D), fill in the
information below_

j-' ldentify] the creditor and the property that ls collateral - Wh'at do you intend to do with the property that Did you claim the property
' _ § . ,_ __ .. _. » _ __ y _, _ . _ . secures a debt? . l as exempt on Schedu|e C?
Creditor'$ Chase Corporation l;l Surrender the property l:| No
name: l:l Retain the property and redeem it.
_ _ l:l Retain the property and enter into a - Yes
Descrmtlon Of 7865 Mistral Drive Orlando, FL Reaffmnalron Agreemem_
progeny 3282-t Orange C°unty - Retain the property and [exp|ain]:

Securing debt Deed and Note in Debtor and
Ex-Husband's Name
Current Value based on listed

 

 

sale price of property Homestead marital property
Cr€dilOl“S Laureate Park Master E] Surrender the property. |:| NO
name: l:l Retain the property and redeem it,
|:l Retain the property and enter into a l Yes
D€SCFinlOn Of 7865 N'|isl;ra.l Dr`lve Orlando, FL Reaf&rmati'on Agreemenf.
Property 32827 change C°unty - Retain the property and [explain].'

gecur;ng debt Deed and Note in Debtor and
Ex-Husband's Name
Current Value based on listed _
sale price of property Homestead marital property

 

 

Wst Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedu|e G: Executory Contracts and unexpired Leases (Official Form 1066), fill

Ofticia| Form 108 Statement of intention for individuals Fi|ing Under Chapter 7 page 1

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Case 6:18-bl<-03644-KS.] Doc 7 Filed 07/03/18 Page 2 of 3

DeblOl’l Regla De La Caridad Fernandez ease numberl”“"°”’") 6:18"3["'03644

 

in the information below. Do not fist real estate |eases. Unexpired leases are leases that are still in effect', the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

.Descr_ibe_your unexpired personal property leases '_ - l ‘Mtl the lease be a`ssumed?
Lessor's name: E] No

Description of leased

Property: |:] yes

Lessor's names [:l No

Description of leased

Property: yes

Lessor*s name'.
Description of leased
Property:

No
Yes

Lessor‘s name:
Description of leased
Property:

Lessor's name:

Deecription of leased
Property: Yes
Lessor's name:

Description of leased
Property:

No
Yes
Lesser's name:

Description of leased
Property:

Sign Belovv

Under penalty of peri't.\rry, l declare that | have indicated my intention about any property of my estate that secures a debt and any personal
pioperty th ` ubje\ct to an unexpired lease.

No

[][]l:||:|l:ll:l|:|l:l|:lljl]
z

Yes

X

Regk La LC$rlidad Fernandez Signature of Debtor 2
Signa reo Debtorl

Date `7/93/ l ?3 Date

 

 

 

Ofncial Form 108 Statement of intention for individuals Filing Under Chapter 7 page 2

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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

In re: Case No. 6: l 8-bk-03644-KSJ

Chapter 7
Regla De La Caridad Fernandez

Debtor.
/

NOTICE OF FILING AMENDED STATEMENT OF INTENTION

chtor, by and through the undersigned counsel, hereby gives notice of filing
Amended Statement of Intention as attached hereto.

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the foregoing Amended
Statement of lntcntion Was furnished on July 3, 2018, by U.S. Mail and/or electronic mail
pursuant to Local Rulc 7005~3 to:

Richard B Webbcr
Post Officc Box 3000
Orlando, FL 32802

United States Trustec
400 W. Washington St.
Suite 1100

Orlando, FL 32801

Laureate Park Master Association, Inc.

c/o Fishkind & Associates
12051 Corporate Blvd.
Orlando, FL 32817

chla Dc La Caridad Fernandez
7685 Mistral Drive
Orlando, FL 32827

Chase Corporation
PO Box 24696
Columbus, OH 43224

/S/ Ronnald Meiia
Ronnald Mejia

FL Bal‘ #01 77539
Ronnald Mejia, P.A.
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Oriando, Fl_, 32803
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